Case 1:15-cv-24585-UU Document 277 Entered on FLSD Docket 01/05/2018 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                       CASE NO.: 1:15-cv-24585-UNGARO/O'SULLIVAN


     UNITED STATES OF AMERICA,                                     )
      ex rei., BRUCE JACOBS,                                       )
                                                                   )
             Plaintiffs,                                           )
                                                                   )
      v.                                                           )
                                                                   )
    BANK OF AMERICA CORPORATION;                                   )
    BANK OF AMERICA, N .A.;                                        )
    BAC HOME LOANS SERVICING L.P.;                                 )
    COUNTRYWIDE HOME LOANS, INC.;                                  )
    COUNTRYWIDE FINANCIAL CORPORATION;                             )
    COUNTRYWIDE MORTGAGE VENTURES, LLC.                            )
    COUNTRYWIDE BANK, F.S.B.; and                                  )
    RECONTRUST COMPANY, N.A.,                                      )
                                                                   )
             Defendants.                                           )


                       ORDER ON JOINT STIPULATION OF DISMISSAL

             Pursuant to Federal Rule of Civil Procedure 41(a)(l) and the qui tam provisions of the
     False Claims Act, 31 U.S.C. § 3730(b)(l), and the Joint Stipulation of Dismissal filed by the
     United States of America, Relator Bruce Jacobs and Defendants Bank of America
     Corporation; Bank of America, N.A.; BAC Home Loans Servicing L.P.; Countrywide Home
     Loans, Inc.; Countrywide Financial Corporation; Countrywide Mortgage Ventures, L.L.C.;
     Countrywide Bank, F.S.B.; and Recontrust Company, N.A. (n/k/a ReconTrust, N.A.),
     (collectively the "Bank of America Parties" or "Defendants"), it is hereby ORDERED and
     ADJUDGED as follows:

            1. The 39 civil "Implied Certification and False Statement Claims" 1 against the Bank

        Relator's Second Amended Complaint alleges False Claims Act ("FCA") violations and unjust
        enrichment involving the Bank of America Parties' application for and receipt of FHA mortgage
        insurance payments from the U.S. Department of Housing and Urban Development ("HUD")
        and the Federal Housing Administration ("FHA"). Jacobs alleges that the Bank of America
        Parties submitted false claims and made false statements and reports, in violation of the FCA, in
        two principal ways. First, that the Bank of America Parties allegedly violated the FCA by
        "prosecut[ing] foreclosures using surrogate signed endorsements placed on original notes," by
        "submit[ting] false statements and testimony about the dates when endorsements were stamped,"

                                                Page 1 of2
Case 1:15-cv-24585-UU Document 277 Entered on FLSD Docket 01/05/2018 Page 2 of 2




               of America Parties arising from the 39 loans identified in Exhibit FF to Relator's
               Second Amended Complaint [D.E. 79-32] (hereinafter the "39 Intervened Implied
               Certification and False Statement Claims") in which the United States intervened
               in this action are DISMISSED WITH PREJUDICE.
           2. All other claims that Relator Bruce Jacobs brought or could have brought in this
              action are DISMISSED WITH PREJUDICE AS TO RELATOR BRUCE
              JACOBS.
           3. All claims other than the above-referenced 39 Intervened Implied Certification and
              False Statement Claims are DISMISSED WITHOUT PREJUDICE AS TO THE
              UNITED STATES.
           4. This Court shall retain jurisdiction to enforce the terms, conditions and releases of
              the Settlement Agreement between the United States, Relator and the Bank of
              America Parties to the extent reasonably necessa~and appropriate.
           DONE AND ORDERED in Miami, Florida this~                      day of January, 2018.




                                                        URSULA UNGARO
                                                        UNITED STATES DIST
    Conformed copies to:
    All Counsel




       and by "us[ing] purported assignments to the ... MERS [Mortgage Electronic Registration
       System, Inc.] ... to mislead courts into believing that [Defendants] had received an assignment of
       a mortgage that would confer standing to foreclose." Omnibus Order at 4-5 (internal quotation
       marks omitted in Order); Jacobs' Second Amended Complaint,~ 52) [the "Implied Certification
       and False Statement Claims"]. Jacobs attached as Exhibit FF to Jacobs' Second Amended
       Complaint a spreadsheet of 39 "FHA Claims Identified By FHA Case Number With Dates &
       Amounts Paid To Bank Of America, N .A. and Their Affiliates." On August 4, 2017, the Court
       limited discovery in this action "to that which is relevant and proportional to proving or disproving
       the allegations concerning the 39 FHA claims pleaded in [Jacobs]' . . . Second Amended
       Complaint [D.E. 79] including but not limited to Exhibit FF [D.E. 79-32] thereto." D.E. 223 [the
       "39 civil "Implied Certification and False Statement Claims""]. Second, Jacobs asserted a reverse
       false claims act claim (Jacobs' Second Amended Complaint,~ 51) and a related conspiracy claim,
       that this Court dismissed with prejudice.

                                                 Page 2 of2
